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            8                         UNITED STATES DISTRICT COURT
            9             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
          10     RANDY CERVANTES,                      CASE NO. 2:20-CV-09012-CBM-MAAx
          11                      Plaintiff,
                                                       FINAL JUDGMENT [JS-6]
          12            vs.
                                                      Before: Hon. Consuelo B. Marshall
          13     FACEBOOK, INC., WHATSAPP, INC.,
          14     247FOREXTRADE Also Known As
                 4REXTRADE, ROSE LUND, JANE
          15     DOE, AND DOES 1 Through 100,
          16     Inclusive,
          17                      Defendants.
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Gibson, Dunn &
Crutcher LLP

                 FINAL JUDGMENT                                     CASE NO. 2:20-CV-09012-CBM-MAA
           Case 2:20-cv-09012-CBM-MAA Document 68 Filed 11/15/21 Page 2 of 2 Page ID #:871


            1          Consistent with the Court’s June 1, 2021 order granting Defendants Facebook and
            2    WhatsApp’s motion to dismiss with prejudice (Dkt. No. 49), the Court’s June 16, 2021 order
            3    dismissing Plaintiff’s claims against the remaining Defendants with prejudice (Dkt. No. 54),
            4    and the Court’s minute order granting Defendants’ Motion for Entry of Final Judgment and
            5    to Compel Disclosure of Plaintiff’s True Name, pursuant to Federal Rule of Civil Procedure
            6    58 final judgment is entered on all claims in favor of Defendants and against Plaintiff
            7    Randy Cervantes. Plaintiff shall take nothing on his action against Defendants.
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            9    DATED: November 15, 2021
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          11                                                   HON. CONSUELO B. MARSHALL
          12                                                   UNITED STATES DISTRICT JUDGE
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Gibson, Dunn &
Crutcher LLP                                               -2-
                 FINAL JUDGMENT                                               CASE NO. 2:20-CV-09012-CBM-MAA
